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lN THE UNITE`D STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NOR'I`H CAROLINA

 

JONATHAN R. BURRS,

 

Plaintiff. CIVIL ACTION NO. igCi/Liq |
v. COMPLAINT
JURY TRIAL DEl\/IAND

UNITED TECHNOLOGI`ES
CORPORATION. and
WALTER KIDDE PORTABLE
EQUIPMENT, INC..

Defendants.

 

 

NATURE OF THE ACTION

This is an employment discrimination case brought pursuant to the provisions of the Civil
Rights Act of 1866, 42 U.S.C §1981, as amended by the Civil Rights Act of 1991 (“‘Section
1981") to correct unlawful employment discrimination on the basis of race/color, sex_.
harassment` retaliation, intentional infliction of emotional distress, and hostile Worl< environment
leading to constructive discharge for the purposes of providing appropriate relief to Plaintiff
Jonathan R. Burrs (“Mr. Burrs" or “Plaintiff’) Who was adversely affected by discrimination
retaliation, intentional infliction of emotional distress and hostile Work environment from his
employer_ Walter Kidde Portable Equipment, Inc. ("Kidde“’ or "`Defendant-Kidde"’). Which Was
sanctioned by Kidde’s parent company United Technologies Corporation (`“`UTC" or
“Defendant-UTC”). The hostile Work environment Plaintiff endured as a result of the

discrimination harassment, retaliation and intentional infliction of emotional distress by

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Defendant resulted in Plaintiff"s physical suffering, lost wages. significant mental anguish. loss

of property and ongoing medical treatment

JURISDICTION AND VENUE

l. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § l33l.

2. This action is authorized and instituted pursuant to 42 U.S.C. §1981 - Equal rights under
the law.

3. The majority of the discriminatory actions and retaliation commenced within the
jurisdiction of the United States District Court for the Middle District of North Carolina.

4. Venue in this district is proper pursuant to 28 U.S.C. § l39l(b).

PARTIES

5. Plaintiff, Jonathan R. Burrs. is a former employee of Defendant. Mr. Burrs resides at
118 Pangborn Boulevard, l-lagerstown, MD 21740. As an employee of Defendant_, Mr. Burrs
regularly performed job duties at l016 Corporate Park Drive, Mebane. NC 273 02. Mr. Burrs is a
47-year-old. Af`rican-American male who suffers with a neurological condition demyelinating
disease that can lead to Multiple Sclerosis (MS). Defendant was aware of this condition having
been provided with notice of said condition by Plaintiff during Plaintiff`s employ. Both during
and subsequent to his employment with Defendant. and as a result of the hostile work
environment cultivated by Defendant, Plaintiff"s pre-existing condition was significantly
exacerbated

Defendant-UTC

6. UTC is an international corporation headquartered in Farmington, Connecticut. For the
year 2017, UTC reported $59.8 billion in sales and $lS.S billion in profits.

7. Defendant-UTC serves customers in the commercial aerospace. defense and building

industries and ranks among the world"s most respected and innovative companiesl

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8. Def`endant-UTC has more than 200,000 employees located at facilities across the world
in one of four divisions: OTIS, UTC Climate Controls & Security, Pratt Whitney and UTC
Aerospace Systems.

9. Defendant-UTC operates under a global business plan and the Achieving Competitive
Excellence operating system. also known as ACE. that is established at its headquarters in
Farmington, Connecticut, and similarly implemented in each of its division facilities throughout
the world. The ACE system focuses on the drivers of competitive excellence and work
processes

10. Defendant-UTC is a publicly~traded Delaware corporation registered to conduct business
in the State of Connecticut. Def`endant-UTC’s place of business in Connecticut is 10 Farm
Springs Road, Farmington, CT 06032.

Det`endant-Kidde

ll. Walter Kidde Portable Equipment, lnc._, Edwards Division; a Subsidiary of UTC
Building and Industrial Systems, is a publicly-traded Delaware corporation registered to conduct
business in the State of`North Carolina. Defendant-Kidde’s place of business in North Carolina
is 1016 Corporate Park Drive, l\/Iebane, NC 27302.

12. Between the dates of May 12. 2014, and November 2. 2015. Plaintiff Was employed by
Defendant-Kidde; the causes of action herein arose during this time period, and the alleged

illegal conduct occurred not only within this timeframe but continues through the present

FACTS RELATING TO THE PATTERN OF INTENTIONAL AND SYSTEl\/I.IC
DlSCRlMINATION, RETALIATION, HARASSMENT AND lNFLICTION OF El\/IOTIONAL
DISTRESS

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l3. Def`endant-Kidde`s employment practices discriminated against Plaintiff on the bases of
his race and gender and reflect blatant retaliation for complaining about disparate treatment The
discriminatory and retaliatory practices engaged in by Defendant-Kidde were intentional and
systemic in nature. and adversely affected Plaintiff with respect to a hostile-free work
environment_, hiring, and other terms and conditions of employment as specifically enumerated
below.

l4. Plaintiff entered Defendant~Kidde’s employ with more than twenty~four years of
Information Systems industry experience in the software development and full lifecycle, systems
analysis, technical project management and business analysis arenas. Plaintiff also served as a
computer programmer with the Headquarters Recruiting Command for four years while on active
duty in the United States Army before being honorably discharged and obtaining more than two
decades of experience providing information systems services to private and publicly~traded
companies

15. Plaintiff was employed by Defendant-Kidde as a Senior Business Consultant/IT
Business Consultant in Defendant-Kidde’s Customer Service Department. On or about July l,
20]4, and for no apparent reason, Plaintiff’ s position title changed to Senior Analyst_.
Manufacturing Production. There was no change in Plaintiff"s duties or responsibilities related
to his position title change

16. Shortly after his title change, Plaintiff discovered that he was being denied access by
Defendant-Kidde’s lT management team to development and analysis tools, as well as company-
owned documentation Plaintiff understood the aforementioned tools and documentation to be
critical to his job performance

l7. Plaintiff contends that his unexplained title change was merely a pretext for the

discrimination being perpetrated by Defendant-Kidde. as explained more fully below.

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A. Discrimination Based on Race and Gender; Denied Critical Tools Related to Job
Perfonnance

18. On or about September 4r 2014, and September 8, 2014, respectively, Plaintiff requested
access to the critical tools and documentation needed to perform his job. Both requests Were
denied, once by Karol Fritz and once by Lee Deskus, both members of Defendant-Kidde’s lT
Management team.

l9. Plaintiff viewed this denial of access as disparate treatment by Karol Fritz, the prior
analyst whose position Plaintiff now occupied l\/Is. Fritz. a Caucasian female. recently had been
transferred from her analyst position in Defendant-Kidde’S Customer Service Departrnent to its
lnformation Technology Department, where she served as the manager of software development
Prior to being transferred to Defendant-Kidde`s IT Department` Ms. Fritz had no other
professional experience in the lnformation Systems industry.

20. During Ms. Fritz`s service as an analyst for Defendant-Kidde, occupying the same
position as Defendant. she had access to the critical tools and documentation to which Plaintiff
was denied access.

B. Retaliation Against Plaintiff for Complaining About Disnarate Treatment

21. On or about September 12, 2014. and for the first time, Plaintiff protested the disparate
treatment he received in comparison to l\/ls. Fritz. ln an e-mail to Mr. Deskus, a Caucasian male,
Plaintif`f provided evidence of the e-mail chain between himself and l\/Is. Fritz wherein Ms. Fritz
was deceptive with Plaintiff regarding his access to the tools and documentation he needed.
Plaintiff was clear in his e-mail to lVlr. Deskus that he felt this disparate treatment was related to

his race.

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22. Mr. Deskus’ immediate response to Plaintiff' s complaint of disparate treatment was to
retaliate and place unjustifiable blame on Plaintiff, falsely accusing him of being unable to get
along with members of Mr. Deskus’ staff

23. Mr. Deskus` above-referenced statement would later be used against Plaintiff in
Plaintif`f’s 2014 Employee Perf`ormance Review. performed by Ms. Suzanne Turner, a Caucasian
female, who was not Plaintif`f`s immediate supervisor and with whom Plaintiff had no interaction
or contact during the 2014 annual performance review period. Ms. Turner’s actions were
intentional and retaliatory based on Plaintiff"s complaint of disparate treatment

24. On or about October 12, 20]4, approximately one month after Plaintiff informed Mr,
Deskus of the disparate treatment between himself and l\/Is. Fritz. Ms. Fritz instigated an
erroneous ethics investigation against Plaintiff. accusing him of “violating protocol.” Plaintiff
believed this unsupported investigation to be harassment and retaliation resulting from his
complaint of disparate treatment to Mr. Deskus. The outcome of the investigation showed that
Plaintiff, in f`act, had not violated protocol.

25. On or about October 13. 2014. Plaintiff was summoned into an unscheduled meeting
with Curtis Thomton. Defendant-Kidde’s l-luman Resources (HR) Manager, and Ms. Fritz.
During this meeting. which was held in l\/lr. Thomton’s office. Plaintiff was ambushedq
denigrated and screamed at by l\/ls. Fritz. Plaintiff was never given an opportunity to respond to
any of the claims brought against him during the meeting and immediately felt an intense level of
discomfort in the office During this meeting l\/lr. Thomton did nothing to mitigate Ms. Fritz’s
physical aggression toward Plaintiff.

26. On or about October 14, 2014, Plaintiff` again reported the disparate treatment,
retaliation, harassment and hostile work environment to l\/lr. Thornton, who personally had

witnessed the hostility against Plaintiff the prior day. When l\/lr. Thomton asked Plaintiff

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whether be felt that the disparate treatment was a result of race and gender discrimination
Plaintiff answered aftirmatively, providing evidence of both Ms. Fritz`s ability to provide the
documentation and tools Plaintiffneeded, as well as Ms. Fritz`s refusal to do so.

27. At that same time. Plaintif`f also shared concerns with Mr. Thornton about outstanding
software application defects that were non-compliant with the Sarbanes-Oxley (SOX) Act, as
well as Defendant’s subsequent exposure to fraud by a temporary employee related to that non-
connphance.

28. Plaintiff emphasized both the importance of resolving the software defects for quality
purposes and Defendant-Kidde’s reporting obligations under SOX related to same to the
Securities and Exchange Commission (SEC). Defendant-Kidde not only failed to comply with
the SEC reporting obligations regarding the fraud that had occurred, but also failed to disclose to
the SEC that its product retums application, an application having a significant role in the
accounting process_, was not functioning as expected

29. Mr. Thornton discussed Plaintiff’s concerns with management andt based on Plaintiff"s
argument and evidence, Defendant-Kidde opened an investigation on the issue. l\/lr. Tliornton
provided periodic status updates of his investigative findings to Defendant-Kidde"s management
team.

30. On or about January 6. 2015, Plaintiff met with Defendant-Kidde’s HR Director, Andrea
Sirko-DeLancey_, a Caucasian female, and Ms. Turner, who recently had been hired into a newly-
created position as Senior Manager of Customer Service, to discuss some of the concerns
Plaintiff had brought to the attention of Defendant-Kidde’s management team through Mr.
Thornton. Plaintiff was introduced to Ms. Turner for the first time at the meeting on lanuary 6`

2015.

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C. Hostile Work Environment and Retaliation Against Plaintiff` for Raising Racial
Discrimination Concerns with l-luman Resources

31. On or about January 16, 2015, Plaintiff was again the target of unprofessional and
abusive/hostile treatment in the workplace On the aforementioned date, Plaintiff attended a
meeting with Ms. Sirko-DeLancey and Ms. Turner. During a discussion regarding Plaintiff`s
allegation of disparate treatment between himself and Ms. Fritz. Ms. DeLancey and Ms. Tumer
began verbally attacking P]aintif£ calling him a “poor communicator” and referring to him as
*‘arrogant." Plaintift" s attempted responses to the accusations and verbal attacks were
consistently interrupted by more attacks from l\/ls. DeLancey and Ms. Turner_, so Plaintiff
requested to be excused from the meeting

32. Both during and after this meeting, Plaintiff’ s feeling of uneasiness transformed into
chronic anxiety. Plaintiff began to succumb to anxiety and panic attacks, which made it
impossible for him to continue working on January 16, 2015. As a result, he took four hours of
sick leave for the rest of the day.

33. Plaintiff also began experiencing unwarranted scrutiny from Mr. Thornton regarding his
attendance at work. which never had been an issue before his complaints of discrimination in the
workplace and S()X violations Neither Mr. Thornton nor Theresa Farrell (Plaintiff`s immediate
supervisor) had taken issue with Plaintiff"s attendance record prior to that time. Mr. Thornton
sent Plaintiff a wanting regarding the four hours of sick leave Plaintiff took after his traumatic
meeting with Ms. DeLancey and Ms. Turner.

34. On January 26q 2016, during a meeting regarding Plaintiff"s early departure for the sake
of his wellness on January 16, 2015, Plaintiff informed both Mr. Thornton and Ms. Farrell of his
medical history of anxiety and panic attacks that were triggered by the meeting with Ms.

DeLancey and Ms. Tumer_

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35. On or about .lanuary 27. 20l5q Mr. Thornton reduced to writing his complaint about
Plaintiff"s attendance regarding Plaintiff’s late arrival to work on .lanuary 26. 2015, after
inclement weather slowed Plaintiff s commute from his horne in Hagerstown, Maryland, some
320 miles away. Plaintiff had been living in Hagerstown, Maryland since he began working for
Defendant._ and it was not unlikely or unreasonable that Plaintiff s commute would be affected
by the inclement weather in the state of Maryland in January 2015.

36. On or about January 28, 2015. Plaintiff sent an e-mail to Ms. Farrell; lames Ward, a
Caucasian male and Defendant~UTC`s Division President; and Bob McDonough, a Caucasian
male and Def`endant-UTC’s Chief Operating Off`rcer, regarding a neurological illness/
demyelinating disease he had been diagnosed with in 2006.

37.The January 28. 2015_, email to Mr. Ward and Mr. l\/chonough depicted a work
environment of significant hostility towards Plaintiff. including an incident described as a
‘“...Gestapo style ambush and interrogation meeting with Curtis and Karol Fritz the day alter
being falsely accused of an ethics violation." The correspondence expressed Plaintiff` s belief
that he was a target of harassment by a clique of managersl

38. Defendant-UTC`s ACE operating system affords employees the opportunity to escalate
issues to the highest level in the organization as employees deem necessary. to achieve
resolution without fear of retribution or reprisal

39. Mr. Ward and Mr. McDonough, both Defendant-UTC executives in the immediate chain
of command of the managers harassing and retaliating against Plaintiff. made no attempts at any

point to resolve the hostile work environment effectively sanctioning it.

 

' .lanuary 28` 2015 correspondence from .lonathan Burrs to .lames Ward (UTC Division President) and Bob
McDonough (UTC ChiefOperating Officer) _ “‘l feel there is a concerted effort by a [sic] two or three Kidde
resources in key positions to manufacture and influence false perceptions of me to tit a narrative depicting me as a
problem employee."

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40. As Plaintiff began to understand the extent of the hostile environment he faced with
Defendants, his health began to suffer greatly. .Plaintiff" s decline in health required significant
attention so between .lanuary 28 and January 30_, 2015_. Plaintiff took sick leave to attend
physician appointments
D. Retaliation and Hostile Work Environment Based on Race and Gender

41. Defendant-UTC uses an online application to maintain employee information including
performance evaluations which functionality limits employee performance evaluations to input
from the employee_. his/her immediate supervisor, and anyone the employee invites to participate
in the evaluation

42. At no point during Plaintiff’s employment with Defendant-Kidde was Ms. Turner
Plaintiff`s immediate supervisor. nor did Plaintiff invite Ms. Turner to participate in his 2014
employee performance evaluation

43. In February 2015q Plaintiff received a negative performance review by Ms. Turner. Ms.
Turner’s written assessment of Plaintiff`s 2014 job performance colored the negative aspects of
the review. Plaintiff found Ms. Tumer’s participation in that evaluation particularly alarming
since he and Ms. Turner had never met before January 6, 2015. Despite Ms. Turner having no
basis upon which to evaluate Plaintiff`s 2014 job perfonnance. her discriminatory assessment
was included in the review, along with unsupported false information

44. In February 2015, Plaintiff learned that Ms. l`umer had received authorization from l\/ls.
Sirko-DeLancey to have Ms. Turner`s assessment of Plaintiff`s performance inserted into his
2014 annual employee performance evaluation Ms. Delancey`s authorization circumvented the
functionality of the employee performance evaluation tool used by Defendant-UTC. which was

designed to prevent such behaviors

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45. Plaintiff was discriminated and retaliated against by being denied the same rights as
Defendants’ Caucasian employees who had only their immediate supervisors and employee-
invited guests to provide their performance evaluations

46. On or about Fcbruary 27, 2015` Plaintiff also provided rebuttals to Ms. Tumer’s
comments in his 2014 performance review, indicating that they constituted unlawful retaliation
In the performance review, Ms. Turner accused Plaintiff of often fleeing from situations; in his
rebuttal, Plaintiff indicated that he had only asked to be excused from two meetings when he
experienced anxiety attacks that were triggered by particularly abusive conduct by Defendant-
Kidde’s agents Plaintiff had made his health struggles well known to his superiors and found it
inappropriate that those salne struggles would be used against him in a performance review.

47. Of Defendant-UTC`s 200,000+ global employees Plaintiff` was the only one to have his
performance review targeted with disparaging assessments by someone with whom he had no
contact or interaction during the relevant review period.

48. Ms. Turner’s assessment that Plaintiff had shown signs of being unable to get along with
staff in Defendant-Kidde’s IT department Was based solely on Mr. Deskus` retaliatory emai] of
September 12. 2014, falsely accusing Plaintiff` of same.

49. These facts are evidence that Plaintiff’s professional reputation was damaged by Mr.
Deskus’ comments

50. Plaintiff believes that Ms. Turner"s assessment of his performance in 2014. a timeframe
when he and Turner had no interaction either personally or professionally, is directly related to
Plaintiff"s complaint of disparate treatment to Mr. Deskus and Defendant-Kidde’s HR
department Tumer`s assessment was retaliatory under the law and further violated the strict non-

retaliatory policy Defendant-UTC guaranteed to all its employees

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51. In March 2015, Plaintiff applied for the ll` Leader position with Defendant-Kidde a
position for which he was uniquely and well qualified

52. In March 2015, April Stephanie Murphy, Defendant-UTC’s Regional Ethics Director,
launched an investigation regarding Plaintiffs complaints During her investigation Ms.
Murphy suggested that Plaintiff may have been a threat to his superiors during “tough situations"`
related to his disorder. Plaintiff felt personally attacked and explained to Ms. Murphy that he did
not have a medical condition like Post-Traumatic Stress Disorder that could cause him to snap,
but that instead, as he had made clear to management on various occasions he struggled with
anxiety and demyelinating disease, a neurological disorder that could lead to MS, neither of
which made him a violent threat Plaintiff added that he would do exactly as he had twice
before. asking to be excused from the hostile situation

53. On April l, 2015. Ms. Turner assigned Plaintiff to the JD Edwards (JDE) project team as
the User Acceptance Test Leader for Customer Care.

54. Plaintiff was immediately suspicious of Ms. Turner assigning him to the JDE project
especially after being rejected when he volunteered for the project in 2014, when Ms. Turner
served as the project manager.

55. Shortly after being assigned to the JDE project Plaintiff spoke with his immediate
supervisor. expressing in no uncertain terms that he did not trust Ms. Turner’s motives Plaintiff
contended that the assignment to the project appeared to be a setup, so Ms. Tumer could blame
him for anything that might possibly go wrong, having heard that the project was failing already.

56. Plaintiff later would document the current state of the project’s testing approach. compare
that approach to industry standards for software testing and best practices and provide
recommendations for improvements Plaintiff developed the documentation primarily to protect

himself against potential poor performance accusations he feared Ms. Turner would make

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against him under the guise of a non-discriminatory, non-retaliatory business action based on
Ms. Turner`s prior behavior.

E. Discrimination Against Afi'ican Americans in Hiring to lnformation Technologv
Department l\/lanagement Positions

57. Defendant-Kidde practiced a policy that did not consider or hire African Americans as
managers in its lT Department.

58. Defendant-Kidde practiced a policy that did not consider or hire African Americans in its
lT Department.

59. Defendant-UTC does not have uniform practices or objective standards or criteria for
making hiring decisions for IT positions in its Business Industrial Systems division Defendant-
UTC managers are free to make those employment decisions based on their own subjective
preferences rather than objective criteria and individual qualifications Because of these
practices African Americans are discriminated against in the hiring of individuals for
Defendants’ IT positions

60. ln April 2015. Plaintiff learned that HR refused to consider him for the lT Leader
position despite Plaintiff having demonstrated lT proticiencies that far exceeded those of the
previous I'l` managers l\/lr. Deskus and Ms. Fritz (again, both Caucasian). Said proficiencies
could have translated into tens of millions of dollars in cost savings and waste reduction for
Defendants.

61.Plaintiff was uniquely qualified for the lT Leader position but was never even
interviewed, despite both meeting all the qualifications for the position and specializing in the
primary platfomis to be used by the IT Leader.

62. Plaintiff would later learn that the individual who received the position was a Caucasian

male who was far less qualified and experienced than Plaintiff. Defendant-Kidde never provided

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Plaintiff with a reason why his application for the iT Leader position failed to advance in any
way.

F. Defendant Sanctioned Svsternic Retaliation and Ongoing Hostile Worl< Environment
Based on Race/Color and Gender

63. ()n or about April 21_ 20]5`_ Ms. Murphy provided conclusions to her “investigation” of
Plaintiff`s complaints Plaintiff realized that Defendants’ zero-tolerance policy against
retaliation would not be enforced when Defendants purported that Ms. Turner’s comments on
Plaintiff’ s 2014 performance evaluation were made in “good faith and found to be valid,” falsely
contending that Ms. Turner and Plaintiff had worked on the JDE project together in 2014, giving
Ms. Turner the opportunity to personally evaluate Plaintiff`s performance in 2014.

64. Ms. Murphy later would commit perjury in an affidavit dated November 27, 2017,
attesting that Ms. Turner and Plaintiff had worked on the JDE project together in 20]4.
However, Defendant~UTC’s own documentation on the JDE project, as well as entails between
Ms. Turner and Plaintiff in 20l5 and Plaintiff`s own testimony unambiguously negated Ms.
l\/lurphy’s affidavit testimony

65. Defendant-Kidde discriminates and retaliates against the Plaintiff based on race/color and
gender when Ms. Murphy. Ms. Sirko-Delancy, Ms. Turner, and Ms. Fritz all white females, use
their management status to deny the Plaintiff the same rights as white employees by sanctioning
a hostile work environment

66. The Defendant’s actions were systemic discrimination and retaliation attested to by l\/lr.

Thornton`s affidavit of November l, 2.()17.2

 

2 Curtis Thomton Atiidavit ofNovember l, 20131 1..Jonathan was the only one who took a stand against what he
believed to be discrimination.”

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G. Intentional and Negligent infliction of Emotional Distress Leading to Constructive
Discharge

67. On August 18. 2015, after reviewing the duplicate orders report and collaborating With
multiple resources in Defendant-Kidde’s lT department as well as resources in the business, it
was collectively determined that the duplicate orders defect in the XPO systems would
exponentially impact the JDE project once implemented in a production environment

68. Plaintiff sent an email to all the key stakeholders involved in the JDE project informing
them of those findings

69. Plaintiff then met separately with Mr. Scott Little and Mr. Keith Kubera, both senior
managers for Defendant-Kidde and key stakeholders on the JDE project Mr. Kubera was the
less-qualified candidate selected for the IT Leader position for which Plaintiff applied but was
never considered or interviewed

70. During the meeting with Mr. Kuhera, Plaintiff learned of Mr. Kubera’s professional
background, experiences and education and was able to ascertain that Defendant had selected a
candidate for the IT Leader position with significantly fewer qualifications than Plaintiff

71. On August 19, 2015, Plaintiff was publicly attacked and berated by Ms. Tumer in an e-
mail that also was sent to the division President. Plaintiff made an analysis regarding a defect in
the JDE system utilized by Defendant-Kidde_, to which Ms. i`urner responded with intense
criticism, referencing Plaintiff` s 2014 performance review. After Plaintiff fully supported his
position in a responsive e-mail, Ms. Turner excoriated him again, berating him to every recipient
on the e-mail chain.

72. After the attack Plaintiff suffered from Ms. Turner, Plaintiff immediately began
experiencing significant physical/medical complications On August 20, 2015, the very next

day, Plaintiff began having acute anxiety episodes and was forced to seek treatment at the

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Veterans Aff`airs l\/ledical Center Emergency Room in Durham. NC_ resulting in Plaintiff being
place on medication for his symptoms

73. Because of his feeble medical condition, Plaintiff was unable to return to Defendant-
Kidde`s hostile environment; Plaintiff took sick leave beginning August 20. 2015.

74. On August 25. 2015. while Plaintiff was still out on sick leave_, l\/ls. "l`urner called
Plaintiff`s cell phone harassing him about when he was going to return to Work. Ms. Turner’s
phone call further exacerbated Plaintiff`s medical eondition. triggering additional anxiety attacks
and worsening the MS symptoms Plaintiff had been experiencing since the discrimination and
retaliation by Defendant-Kidde began.

75. Ms. Turner’s aggressive and harsh responses to Plaintiff performing standard project
management functions in communicating with key stakeholders were both deliberate and
malicious

76.P1aintif`f returned to the VA Medical Center emergency room in Durham, NC for
treatment, at which time Plaintiff was diagnosed with acute anxiety episodes and placed on a
second medication for the condition

77. In September 2015, Plaintiff returned to Maryland for a battery of medical treatments
through primary care at the VA Medical Center in Martinsburg, WV, including another brain
MRI for his neurological condition

78.'1`he VA eventually prescribed a third medication to offset a condition known as
Anorgasmia or Coughlan`s Syndrome. which Plaintiff began experiencing as an adverse effect
from one of the other medications the VA had prescribed

79. As he continued to prioritize his health in an effort to return to work, Plaintiff was
advised by his physicians and medical providers that returning to work for Defendant-Kidde

would put his recovering health in jeopardy once again.

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80. Since employment with Defendant-Kidde was no longer a possibility, Plaintiff submitted
an involuntary resignation from his position with Defendant-Kidde. noting as the cause the
emotional. physical and psychological complications he experienced because of the

discrimination, intentional harassment and intentional retaliation he faced while employed with

Defendant-Kidde.

MRMMME_F
Wherefore, Plaintiff respectfully requests that this Court:
A. Find that Plaintiff Was subjected to disparate treatment in the workplace when he was
not given access to critical documentation and tools that were essential to his job perfonnance.
B. Find that Defendant subjected Plaintiff to adverse actions when:

a. Plaintiff was treated abusively and harassed in various meetings and e~mails as
outlined above_;

b. Plaintiff was subjected to erroneous scrutiny regarding his attendance;

c. Plaintiff received a negative performance review from an employee who had no
basis to evaluate his 2014 job performance and who was not invited by Plaintiff to
participate in the review; and

d. Plaintiff was subjected to denial of opportunity to interview for and non-selection
into a position for which he was more than qualified and passed over in favor of a
less-qualified. Caucasian male.

C. Find that Plaintiff Was the target of various unfavorable personnel actions and/or a
retaliatory hostile environment leading to constructive discharge
D. Find that Plaintiff` s race/color, gender and complaints of disparate treatment were

contributing factors to the unfavorable personnel actions to which Defendant~Kidde subjected

him.

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E. Grant judgment to Plaintiff` in the amount of $10_000,000.00 in compensatory
damages and backpay, with pre- and post-judgment interest, and the same amount in liquidated
damages for the medical costs Plaintiff incurred for the immeasurable emotional distress and
irreparable damages caused by Defendants both during Plaintiff’s employment with Defendant-
Kidde and through the present

F. Grant judgment to Plaintiff in the amount of $1,000,000,000.00 for punitive damages
with pre- and post-judgment interest to adequately punish and deter future discriminatory and
intentional retaliatory behavior and for fostering a hostile work environment by Defendants.

G. Grant such further relief as the court deems necessary and proper in the public interest

H. Grant Plaintiff any costs of this action, including reasonable attorney fees expert

witness fees, and litigation costs

JURY TRJAL DEMAND

Plaintiff requests ajury trial on all questions of fact raised in the Complaint.

CERTIFICATION

Under Federal Rule of Civil Procedure 11, by signing below, l certify to the best of my
knowledge, information and belief that this complaint (l`) is not being presented for an improper
pulpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(_2) is supported by existing law or by a non-frivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or_. if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

l agree to provide the Clerk’s Office with any changes to my address where case-related papers
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may be served. 1 understand that my failure to keep a current address on file with the Clerk`s

Ol`fice may result in the dismissal of my case.

Respectfully submitted

Dated: June 6. 2018 gm %/Q)

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